      Case 22-52919-jwc          Doc 10      Filed 04/12/23 Entered 04/12/23 12:26:49                 Desc Order
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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Gateway Construction Company, LLC.                    Case No.: 22−52919−jwc
       3645 Maketplace Blvd.                                 Chapter: 7
       Suite 130−576                                         Judge: Jeffery W. Cavender
       Atlanta, GA 30344

       20−8031711




                    ORDER APPROVING TRUSTEE'S REPORT OF NO DISTRIBUTION,
                          DISCHARGING TRUSTEE AND CLOSING ESTATE



It appearing to the Court that

                                                    Kyle A. Cooper



the Trustee in said case, has filed a report of no distribution and that said Trustee has performed all other and further
duties as required in the administration of said estate;

IT IS THEREFORE ORDERED that said report be and it hereby is approved and that the said estate be and it
hereby is closed; that the Trustee be and hereby is discharged from and relieved of the trust.




                                                             Jeffery W. Cavender
                                                             United States Bankruptcy Judge


Dated: April 12, 2023
Form 184
